                        Case 15-20926                         Doc 1         Filed 06/16/15 Entered 06/16/15 19:40:39                                                  Desc Main
B1 (Official Form 1)(04/13)
                                                                              Document     Page 1 of 11
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                            Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Buie, Limetrea E.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  AKA Limetrea E. Buie-Morris



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-3984
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  P.O. Box 1524
  Chicago Heights, IL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         60412
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Cook
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                  Case 15-20926                Doc 1         Filed 06/16/15 Entered 06/16/15 19:40:39                                         Desc Main
B1 (Official Form 1)(04/13)
                                                               Document     Page 2 of 11                                                                                    Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Buie, Limetrea E.
(This page must be completed and filed in every case)
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Northern District of Illinois - Eastern Division       14-02384                              1/27/14
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Marc G Wagman                                        June 16, 2015
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Marc G Wagman 6282192

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case 15-20926                  Doc 1          Filed 06/16/15 Entered 06/16/15 19:40:39                                      Desc Main
B1 (Official Form 1)(04/13)
                                                                  Document     Page 3 of 11                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Buie, Limetrea E.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Limetrea E. Buie                                                                 X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Limetrea E. Buie

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 16, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Marc G Wagman
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Marc G Wagman 6282192                                                                    debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Ledford, Wu & Borges, LLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      105 W. Madison
      23rd Floor                                                                               Social-Security number (If the bankrutpcy petition preparer is not
      Chicago, IL 60602                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                           Email: notice@billbusters.com
      312-853-0200 Fax: 312-873-4693
     Telephone Number
     June 16, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                 Case 15-20926                   Doc 1           Filed 06/16/15 Entered 06/16/15 19:40:39           Desc Main
                                                                   Document     Page 4 of 11


B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Limetrea E. Buie                                                                         Case No.
                                                                                  Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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                  Case 15-20926                       Doc 1          Filed 06/16/15 Entered 06/16/15 19:40:39   Desc Main
                                                                       Document     Page 5 of 11


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
             deficiency so as to be incapable of realizing and making rational decisions with respect to financial
             responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                       Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:          /s/ Limetrea E. Buie
                                                                                     Limetrea E. Buie
                                                       Date:         June 16, 2015




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    Case 15-20926   Doc 1   Filed 06/16/15 Entered 06/16/15 19:40:39   Desc Main
                              Document     Page 6 of 11

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                      Ad Astra Rec
                      8918 W 21st St. N Suite 200
                      Mailbox: 112
                      Wichita, KS 67205


                      Afs Acceptance Llc
                      101 Ne 3rd Ave
                      Fort Lauderdal, FL 33301


                      Afs Acceptance Llc
                      1475 W Cypress Creek Rd
                      Fort Lauderdale, FL 33309


                      Arnold Scott Harris, P.C.
                      111 W. Jackson Blvd
                      Ste 600
                      Chicago, IL 60604


                      Ars Inc
                      14707 E 2nd Ave
                      Aurora, CO 80011


                      AT&T Mobility
                      PO Box 6416
                      Carol Stream, IL 60197


                      c/o David Smith (Owner)
                      1848 Reichert Ave
                      Sauk Village, IL 60411


                      CBE Group
                      1309 Technology Pkwy
                      Cedar Falls, IA 50613


                      Check & Go
                      18240 Kedzie
                      Hazel Crest, IL 60429


                      City of Chicago (Suspension/Boot)
                      Department of Finance
                      121 North LaSalle Street, Room 107A
                      Chicago, IL 60602
Case 15-20926   Doc 1   Filed 06/16/15 Entered 06/16/15 19:40:39   Desc Main
                          Document     Page 7 of 11


                  City of Chicago - Dep't of Revenue
                  PO Box 88292
                  Chicago, IL 60680


                  Comcast
                  1255 W. North Ave.
                  Chicago, IL 60622


                  ComEd
                  3 Lincoln Center
                  Attn: Bkcy Group-Claims Department
                  Oakbrook Terrace, IL 60181


                  Complete Recovery
                  11601 Roosevelt Rd
                  Saint Petersburg, FL 33716


                  Crd Prt Asso
                  Attn: Bankruptcy
                  Po Box 802068
                  Dallas, TX 75380


                  Credit Acceptance
                  c/o Baker & Miller
                  29 N. Wacker Drive
                  Chicago, IL 60603


                  Direct TV
                  PO Box 9001069
                  Louisville, KY 40290-1069


                  Eastern Account System
                  PO Box 837
                  Newtown, CT 06470


                  Economy Interiors
                  c/o Paul D. Lawent, Atty
                  P.O. Box 5718
                  Elgin, IL 60121


                  Enhanced Recovery Capital
                  8014 Bayberry Rd
                  Jacksonville, FL 32256
Case 15-20926   Doc 1   Filed 06/16/15 Entered 06/16/15 19:40:39   Desc Main
                          Document     Page 8 of 11


                  Enhanced Recovery Corp
                  Attention: Client Services
                  8014 Bayberry Rd
                  Jacksonville, FL 32256


                  ER Solutions/Conver Outsourcing
                  Po Box 9004
                  Renton, WA 98057


                  First Premier Bank
                  3820 N Louise Ave
                  Sioux Falls, SD 57107


                  First Premier Bank
                  3820 N Louise Ave
                  Sioux Falls, SD 57107


                  Forest Hills Apts.
                  Phillip L. Radmer, Atty
                  134 N. LaSalle, #1114
                  Chicago, IL 60602


                  Forest Hills Apts.
                  c/o Phillip L. Radmer, Atty
                  134 N. LaSalle, #1114
                  Chicago, IL 60602


                  Fst Premier
                  3820 N Louise Ave
                  Sioux Falls, SD 57107


                  Guaranty Bank
                  4005 167th St
                  Country Club Hills, IL 60478


                  He Stark Col
                  Po Box 45710
                  Madison, WI 53744


                  Heritage Acceptance
                  c/o Russel G. Winick, Atty
                  1220 Iroquois, #100
                  Naperville, IL 60563
Case 15-20926   Doc 1   Filed 06/16/15 Entered 06/16/15 19:40:39   Desc Main
                          Document     Page 9 of 11


                  Hertg Accpt
                  Heritage Acceptance Corporation
                  121 S Main Street
                  Elkhart, IN 46516


                  Illinois Dept of Human Services
                  Cash Management Unit
                  PO Box 19407
                  Springfield, IL 62794


                  Integrity Solution Svc
                  20 Corporate Hills Dr
                  Saint Charles, MO 63301


                  Linebarger Goggan Blair & Sampson
                  P.O. Box 06152
                  Chicago, IL 60606-0152


                  Majestic Star Casino
                  1 Buffington Harbor Drive
                  Gary, IN 46406-3000


                  Markoff Law LLC
                  29 N. Wacker Dr. #550
                  Chicago, IL 60606


                  Midwest Bank
                  19100 Ridgeland Ave
                  Tinley Park, IL 60477


                  Midwest Title Loan
                  678 W. 14th Street
                  Chicago Heights, IL 60411


                  Nanette Anderson
                  P.O. Box 2435
                  Harvey, IL 60426


                  Nationwide Credit Inc
                  2015 Vaughn Rd NW
                  Kennesaw, GA 30144
Case 15-20926   Doc 1   Filed 06/16/15 Entered 06/16/15 19:40:39   Desc Main
                         Document     Page 10 of 11


                  Nicor Gas
                  Attn: Bankruptcy & Collections
                  PO Box 549
                  Aurora, IL 60507


                  Nicor Gas
                  PO Box 2020
                  Aurora, IL 60507


                  Payday Loan Store
                  1657 Sibley Blvd
                  Calumet City, IL 60409


                  QC Financial Services
                  National Quick Cash
                  1451 Sibley Rd.
                  Calumet City, IL 60409


                  Russel G. Winick & Assoc
                  1220 Iroquois Avenue, Suite 100
                  Naperville, IL 60563


                  Santander Consumer Usa
                  P.O. Box 961245
                  Ft Worth, TX 76161


                  Secretary of State
                  Safety & Financial
                  2701 S. Dirksen Parkway
                  Springfield, IL 62723


                  Speedy Cash
                  3607 N. Ridge Rd.
                  Wichita, KS 67205


                  Stellar Recovery Inc
                  4500 Salisbury Rd Ste 10
                  Jacksonville, FL 32216


                  T-Mobile
                  15 Union St.
                  Attn: Bankruptcy Dept.
                  Lawrence, MA 01840
Case 15-20926   Doc 1   Filed 06/16/15 Entered 06/16/15 19:40:39   Desc Main
                         Document     Page 11 of 11


                  TCF National Bank
                  800 Burr Ridge Parkway
                  Burr Ridge, IL 60521


                  Trackers Inc
                  1970 Spruce Hills
                  Bettendorf, IA 52722


                  Trackers Inc
                  1970 Spruce Hills
                  Bettendorf, IA 52722


                  Village of Orland Park
                  C/O RMI
                  18241 West St.
                  Lansing, IL 60438


                  Vision Fin
                  1900 W Severs Rd
                  La Porte, IN 46350


                  Vision Fin
                  1900 W Severs Rd
                  La Porte, IN 46350


                  Walmart
                  PO Box 981064
                  Attn: Bankruptcy Dept.
                  El Paso, TX 79998-1064
